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12

13                       UNITED STATES DISTRICT COURT
14                    SOUTHERN DISTRICT OF CALIFORNIA
15

16    VINCENT NEVELS,                      Case No. 3:22-cv-00427-AJB-WVG
17                  Plaintiff,             JOINT MOTION FOR EXTENSION
                                           OF TIME TO RESPOND TO
18    v.                                   COMPLAINT
19    CORELOGIC CREDCO, LLC,
20                  Defendant.
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     125938647                                         CASE NO. 3:22-cv-00427-AJB-WVG
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 1               Vincent Nevels (“Plaintiff”) and CoreLogic Credco, LLC (“Defendant”),
 2    through their undersigned counsel, hereby respectfully request a 30-day extension of
 3    time, up to and including June 3, 2022, for Defendant to respond to Plaintiff’s
 4    Complaint. Defendant’s Counsel has consulted with Plaintiff’s Counsel who has
 5    consented to the relief requested here. In support of this motion, Plaintiff and
 6    Defendant state as follows:
 7               1.    On March 31, 2022, Plaintiff filed his Complaint in the above-captioned
 8    case. (Dkt. No. 1.)
 9               2.    Defendant was served with the Complaint on April 13, 2022.
10               3.    Under the Federal Rules of Civil Procedure, Defendant’s response to
11    Plaintiff’s Complaint is currently due May 4, 2022.
12               4.    On April 28, 2022, Counsel for Defendant conferred with Counsel for
13    Plaintiff, regarding the timing of Defendant’s response to the Complaint. Plaintiff’s
14    Counsel consented to Defendant’s request to extend the time for filing an answer by
15    thirty days, which would make the new deadline June 3, 2022.
16               4.    The relief requested herein is for good cause and will not result in undue
17    delay in the administration of this case. An extension of time for Defendant to file
18    its response is necessary in order for Defendant to further investigate Plaintiff’s
19    claims and adequately respond to the Complaint.
20               5.    No other extensions of time have been previously requested in this case.
21    No dates have been set for a pre-trial conference or trial.
22               Accordingly, the parties respectfully request that this Court enter an Order
23    extending Defendant’s deadline to respond to the Complaint up to and including
24    June 3, 2022.
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     125938647                                                      CASE NO. 3:22-cv-00427-AJB-WVG
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 1   Dated:         April 29, 2022              WAJDA LAW GROUP, APC
 2

 3                                              By: /s/ Nicholas M. Wajda
                                                   Nicholas M. Wajda
 4
                                                     Attorneys for Plaintiff
 5                                                   VINCENT NEVELS
 6

 7   Dated:         April 29, 2022              TROUTMAN PEPPER HAMILTON
                                                SANDERS LLP
 8

 9
                                                By: /s/ Jessica Lohr
10                                                Ronald I. Raether
                                                  Jessica Lohr
11
                                                    Attorneys for Defendant
12                                                  CORELOGIC CREDCO, LLC
13

14                                     ATTESTATION
15           I, Jessica Lohr, am the ECF user whose identification and password are being
16   used to file this Joint Motion. I hereby attest that Nicholas Wajda has concurred in
17   this filing.
18                                                  /s/ Jessica Lohr
                                                    JESSICA R. LOHR
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